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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                    Evansville Division

    EDMOND M. BUTCH, et al.,

                   Plaintiffs,                      Case No.: 3:19-cv-00258-RLY-MJD
           v.
                                                    Demand for Jury Trial
    ALCOA USA CORP, et al.,

                   Defendants.


                            [PROPOSED] ORDER GRANTING
                    PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

          Plaintiffs brought suit against Alcoa USA Corp. and related Defendants (“Alcoa”) to

   enforce collectively bargained agreements (“CBAs”) that grant retired employees a contractual

   right to retiree life insurance benefits which were terminated by Alcoa effective December 31,

   2019. (ECF No. 44). On September 28, 2022, the Court appointed Plaintiffs Edmond M. Butch,

   Charles R. Wyatt, Martin L. Ellison, Daniel A. Henry, and Robert H. Crow to represent a Class of

   retirees whose Company-paid retiree life insurance was terminated by Alcoa, (ECF No. 117 at 21-

   22) and appointed Mr. Crow to represent a Subclass of retirees whose Voluntary life insurance

   was terminated by Alcoa. (Id. at 23.) On June 14, 2023, Plaintiffs moved for summary judgment

   under Fed R. Civ. P. 56(a) as to the claims brought under Counts I-IV of the Amended Class Action

   Complaint, (ECF No. 44 at 19-23), and as to Alcoa’s Thirteenth Affirmative Defense that that

   Class Members who accepted a cash payment from Alcoa have waived their claims for life

   insurance benefits, (ECF No. 55 at 22).

          NOW, this ___ day of _________, 2023, upon consideration of Plaintiffs’ Motion for

   Summary Judgment, their supporting memorandum of law and other supporting documents, as

   well as the opposition thereto, and the entire record in this case, the Motion is hereby GRANTED,
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   and summary judgment is entered in favor of the Plaintiffs and the Class and Subclass. The Court

   hereby ORDERS as follows:

          1.      For at least the term of the 2023-2026 CBA between Alcoa and the USW, Alcoa

   may not terminate or reduce the Company-paid retiree life insurance that had been provided to

   Class Members prior to Alcoa’s termination of such coverage effective December 31, 2019,

   without agreement of the USW.

          2.      Alcoa may not terminate or reduce the Voluntary retiree life insurance that had been

   provided to Subclass Members prior to Alcoa’s termination of such coverage effective December

   31, 2019, without agreement of the USW.

          3.      Alcoa must reinstate said coverages and promptly make such coverage available to

   all Class Members (for Company-paid insurance) and Subclass Members (for Voluntary life

   insurance).

          4.      The beneficiary of any Class or Subclass Member who has died since Alcoa

   terminated said coverages shall be entitled to the coverage in effect before Alcoa terminated those

   coverages.

          5.      No Class Member or Subclass Member has waived any claim for these life

   insurance coverages by virtue of cashing a check sent by Alcoa at the same time it announced the

   termination of those coverages.

          6.      No later than twenty-one (21) days after entry of this Order, Alcoa must file a

   detailed explanation of its actions pursuant to Paragraphs 3 and 4.

          7.      Within thirty (30) days of this Order, Plaintiffs shall file any motion for attorneys’

   fees, costs, and expenses incurred in this matter.



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          IT IS SO ORDERED.

                                             By the Court:



                                             _____________________________________.




   Served electronically on all ECF-registered counsel.

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